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IN THE UNITED STA'I`ES DISTRIC'I` COURT m D'C'

FOR THE wEsTERN DIsTRlCT oF TENNESSEHJS JUN 27 1211 13 1
WESTERN DIVISION ' 39
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THE cLARK CoNsTRUchoN ) §§ ' 101 »_}-S
GRoUP, INC., ) "" "* "~‘»'“if”°HfTS
)
Plainciff, )
)
v. ) No. 01-2780 B/An
)
CITY oF MEMPHIS and THE )
MEMPHIS CO0K CoNVENTIoN )
CENTER COMMISSION, )
)
Defendants. )

 

ORDER GRANTING IN PART AND DENYING IN PAR'I`
MOTION 'I`O COMPEL

 

Before the Court is Plaintiff’s Motion to Compel Document Production filed on
November 10, 2004. United States District Judge Samuel H. Mays, Jr. referred this matter to the
Magistrate Judge for determination For the reasons set forth below, the Motion is
GRANTED in part and DENIED in part.

BACKGROUND

Plairitiff sued Defendants for damages arising out of the expansion and construction of
the Memphis Cook Convention Center (“Convention Center”). ln February 1999 Clark
Construction Group, lnc. (“Clark” or “Plaintift“) entered into a contract With the City of
Memphis to perform renovations to the Convention Center. Both before the contract Was
awarded and throughout the construction process, Clark contacted either the City or one of its

authorized agents for clarification of the design plans provided by the City to Clark. Specifically,

This document entered on the docket sheet ln compliance
with Ftute 58 and!cr 79(a) FRCP on '

 

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Clark submitted over 2,000 requests for additional information and clarification Clark alleges
that it was not informed of various design and building problems before it Was awarded the
contract for the proj ect.

Four years after beginning construction, Clark completed the additions to the Convention
Center. Clark then sued the City of Memphis and the Memphis Cook Convention Center
Commission (collectively the “City”) for breach of contract, for negligent misrepresentation and
for breach of the implied covenant of good faith and fair dealing Clark’s Complaint Was filed on
September 27 , 2001. The City has counterclaimed for liquidated damages, resulting from
Clark’s delay in completing the project.

Prior to the completion of the project, Clark served the City with a document request
pursuant to the Tennessee Public Records Act. The City timely responded to the request and
provided Clark with access to certain documents The City, however, provided Clark with its
first privilege log on September 26, 2003, listing almost 750 documents that would not be
produced. Clark also served the City with requests for production of documents pursuant to the
Federal Rules of Civil Procedure on May 28, 2003 and June 2, 2004. The City objected to the
production of various documents on the grounds of attorney-client privilege and work product
doctrine The City assigned the designation “COM” to all documents produced to Clark in
response the discovery requests, but the City has not provided Clark with a privilege log
identifying the “COM” documents it withheld from production.

Additionally, the City did not produce documents from SMG; Hellmuth, Obata +
Kassabaum, Inc. (“HOK”); and the Hdenak Bobo Group (“HBG”), who are all agents of the City.

Specifically, SMG served as the manager of the Convention Center, HOK assisted in resolving

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the design issues and coordinated the flow of information between Clark and the various project
designers, and HBG served as the City’s on-site representative during the construction phase.
The City provided privilege logs for HOK and HBG documents, but the City did not provide a
privilege log for the SMG documents

Clark argues that over 275 items in the City’s privilege logs have been inappropriater
withheld from production These documents include (l) documents authored and sent by third
parties, (2) documents sent to third parties by attorneys that do not represent the City, (3)
documents sent by the City’s counsel to the attorneys who do not represent the City, and (4)
documents that have no privilege or protected status ln its Memorandum, Clark argues that
neither the attorney-client privilege or the Work product doctrine apply to each of these
documents

In its Response, the City first notes that 52 documents have been removed from the
privilege log because they Were previously produced to Clark by HBG. The City has also
produced an additional 93 documents to Clark. As a result of these actions, the City has
provided the Court and Clark with a revised listing of challenged documents, which is attached to
the City’s Supplemental Response to Plaintiff"s Motion to Compel as Exhibit A.1 The City
argues that all of these documents are privileged and should not be produced, and the City asked
the Court to perform an in camera review of the documents to determine which documents, if

any, should be produced to Clark.

 

1 The “Revised Log of Challenged Documents Listed Within Defendants' Privilege Log, HBG’s Privilege
Log, and HOK’s Privilege Log,” dated January 10, 2005, lists 128 entries The City provided a supplemental list of
five documents in a letter to the undersigned on March 11, 2005.

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Clark, on the other hand, asked the Court to enter an order compelling the City to produce
all documents listed in Exhibit B to Clark’s Memorandurn in Support of the Motion to Compel.
Clark has also asked the Court to require the City to produce all other relevant documents that the
City withheld from production and to produce a privilege log for the “COM” and “SMG”
documents the City withheld from production

The Court entered an Order on February 24, 2005 stating that “the Court must only
determine Whether the documents listed in the revised listing of challenged documents should be
produced.” Clark Construca`on Co. v. City ofMemphis, Order, No. 01-2780 Ma/An (W.D. Tenn.
Feb. 24, 2005). The Court then ordered the City to submit all documents listed on its revised
privilege log to the Court for an in camera review. See r'd. The Court has reviewed all
documents produced by the City.

ANALYSIS
I. Applicable Law

“Parties may obtain discovery regarding any matter, not privileged, that is relevant to the
claim or defense of any party . . . .” Fed. R. Civ. P. 26(b)(1), Relevancy means that the evidence
“appears reasonably calculated to lead to the discovery of admissible evidence.” Fed. R. Civ. P.
26(b)(l); see also Coleman v. Am. Red Cross, 23 F.3d 1091, 1097 (6th Cir. 1994). The Court
should broadly interpret whether evidence is relevant See Oppenheimer Fund, Inc. v. Sanders,
437 U.S. 340, 351 n12 (1978) (quoting 4 J. Moore, Federal Practr'ce § 26.96[1], at 26-131 n.34
(2d ed. 1976)). ln this Circuit, the scope of discovery is extremely broad under the Federal Rules
of Civil Procedure and “is . . . within the broad discretion of the trial court.” Lewis v. ACB

Busr'ness Servs. Inc., 135 F.3d 389, 402 (6th Cir. 1998). The United States Suprerne Court has

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also noted that discovery should be both broad and liberal. See Schlagenhaufv. Holder, 379 U.S.
104. 114-15 (1964) (citing Hi'ckman v. Taylor, 329 U.S. 495, 507 (1947)). Nevertheless, if a
document is not relevant, it is not discoverable

ln this case, Plaintiff has asked the Court to compel the City to produce multiple relevant
documents; however, the City contends that the documents should not be produced because the
documents are protected by the attorney-client privilege and the work product doctrine. The
party raising a privilege has the burden of establishing the existence of the privilege Fed. R.
Civ. P. 26(b)(5). The objection must include sufficient information so that the Court and
opposing counsel can assess the applicability cf the privilege Watts v. F ederal Express Corp.,
NO. 99-CV-701, 2001 WL 1661474, at *6 (W.D. Mich. Apr. ll, 2001); Meridan Dr`agonostics,
Inc. v. Yr'., No. C-1-00-540, 2001 WL 1842463, at *9-10 (S.D. Ohio Mar. 9, 2001) (holding that a
privilege log is required to assess the applicability of the privilege). 0verall, a party may not
assert a blanket claim for a privilege, but instead the party must assert a privilege claim on a
document by document basis See Coltec Industries, Inc. v. Am. Motorr`srs Ins. Co. , 197 F.R.D.
368, 371 (N.D. Ill. 2000). “[E]ach document in a privilege log should contain details including:
date, author and all recipients of the document, subject matter, and an explanation as to why the
document should be privileged and not produced in discovery.” Id. at 373. “[D]escribing a
document as ‘legal advice’ or ‘work product’ is not the same as establishing that the documents
are immune from discovery.” Id. (emphasis in original).

The attorney-client privilege is the oldest ofprivileges, and “courts are properly hesitant
to intrude upon the private communications of clients and their attorneys.” Royal Surplus Lines

Ins. Co. v. Sofamor Danek Group, Inc., 190 F.R.D. 505, 509 (W.D. Tenn. 1999). “Its purpose is

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to encourage full and frank communication between attorneys and their clients and thereby
promote broader public interests in the observance of law and administration of justice.” Upjohn
Co. v. Unr`ted States, 449 U.S. 383, 389 (1988). The privilege, however, is not absolute Um'teal
States v. Goldfarb, 328 F.2d 280, 282 (6th Cir. 1964). The Sixth Circuit has defined the essential
elements of the attorney-client privilege as follows:

(l) Where legal advice of any kind is sought (2) from a professional legal advisor

in his capacity as such, (3] the communications relating to that purpose, (4) made

in confidence (5) by the client, (6) are at his instance permanently protected (7)

from disclosure by himself or by the legal advisor, (8) except the protection be

waived.
Ia’. at 281 (quoting 8 Wigmore, Evr`alence § 2292, at 554 (McNaughton rev. 1961)). The privilege
“should not be extended to accomplish more than its purpose.” Ia'. at 282; see also Humphreys,
Hutchenson &Moseley v. Donovam, 755 F.2d 1211, 1219 (6th Cir. 1985).

ln a diversity case, the applicability of the attorney-client privilege is determined
according to state law. See Fed. R. EVid. 501. Therefore, the Court will look to Tennessee’s
attorney-client privilege to determine if a privilege is applicable in this case, ln Tennessee, “[n]o
attorney . . . shall be permitted . . . to disclose any communication made to the attorney.” Tenn.
Code Ann. § 23-3-105 (2004); see also Boyd v. Coma'ata Network, Inc., 86 S.W.3d 203, 213
(Tenn. Ct. App. 2002). “The privilege applies not only to the client’s communications but also to
the attorney’s communications to his or her client when the attorney’s communications are
specifically based on the client’s confidential communications or when disclosing the attomey’s

communications Would . . . reveal the substance of the client’s confidential communications.”

Boyd, 86 S.W.3d at 213.

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Documents made in anticipation of litigation are privileged under the work product
doctrine Fed. R. Civ. P. 26(b)(3). “The party seeking the protection of the work-product
privilege has the burden of proving that the disputed documents are work product.” Royal
Surplus Lines Ins. v. Sofamor Danek Group, 190 F.R.D. 463, 473 (W.D. Tenn. 1999). The Sixth
Circuit established a procedural step-by~step process for courts to use when a work product claim
is made by a party. See Toledo Edison Company v. G A Technologr`es, Inc., 847 F.2d 335,
339-40 (6th Cir. 1988). Overall, the Court must do the following:

First, the party requesting the materials must make an initial showing that the

information contained therein is relevant to the subject matter of the pending

litigation and not otherwise privileged. Next, the party opposing production must

demonstrate that the materials were prepared in anticipation of litigation by or for

that party’s attorney or representative Then, the burden shifts back to the

requesting party to establish a substantial need of the materials and the inability to

obtain the substantial equivalent of the materials by other means without undue

hardship. In no event, however, should the court require the production of mental

impressions conclusions opinions or legal theories of` an attorney or other

representative concerning the litigation
Royal Surplus, 190 F.R.D. at 473. The work product doctrine is designed to prevent
“unwarranted inquiries into the files and the mental impressions of an attorney . . . reflected, of
course, in interviews, statements memoranda, correspondence briefs, mental impressions
personal beliefs, and countless other tangible and intangible ways” and prepared in anticipation
of litigation Hickman v. Taylor, 329 U.S. 495, 510 (1947). However, the rule does not protect
from disclosure facts learned by an attorney, and courts have consistently held “that the work

product concept fumishe[s] no shield against discovery, by interrogatories or by deposition, of

the facts that the adverse party’s lawyer has leamed, or the persons from whom he or she ha[s]

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learned such facts . .” 8 Charles Alan Wright, Arthur R. Miller, & Richard L. Marcus, F ederal
Practr`ce and Procedure § 2023 (2d ed. 2004); See Hz`ckman, 329 U.S. at 513.
II. The Actual Documents

The Court has performed an in camera review of the documents listed in the City’s
revised privilege log. Atter review, the Court has made a determination with respect to each
document and as to whether the document must be produced by the City or whether the City
should not produce the document because the document is not relevant to these proceedings or
because the document is protected by the attorney-client privilege or the work product doctrine
As such, the Motion is GRANTED in part and DENIED in part.

A. Documents Not Relevant

Although discovery is broad and liberal in this Circuit, a party is not entitled to all
evidence For documents to be discoverable the document must be relevant, or at least
“reasonably calculated to lead to the discovery of admissible evidence.” Fed. R. Civ. P. 26(b)(1).
After review, the Court concludes the following bate stamped documents are not relevant;
therefore the City should not be required to produce these documents to Plaintiff:

BD&C 002922; BD&C 002926; BD&C 002928; BD&C 005558; BD&C 005582;
BD&C 005871; BD&C 005948; BD&C 006036; BD&C 006371; BD&C 006823;
BD&C 006920; BD&C 007214; BD&C 007310; BD&C 007730; BD&C 007951;
BD&C 008331; BD&C 009380; HOK 000354.

B. Documents Protected by Attorney Client Privilege
The attorney-client privilege is meant to protect the disclosure of confidential secrets

regarding legal advice discussed between a client and his or her lawyer. After review, the Court

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determines that the following documents are protected by the attorney-client privilege; therefore
the City should not produce these hate-stamped documents to Plaintiff:

BD&C 005081; BD&C 005670; BD&C 006747; BD&C 008230; BD&C 008425;
BD&C 010518; BD&C 019940; HBG 00839; HBG 01199; HBG 01334; HBG 01337;
HBG 04386; HBG 04393; HBG 045 52.

C. Documents Protected by Work Product Doctrine

Documents made in anticipation of litigation are privileged under the work product
doctrine After review, the Court determines that the following documents are protected by the
Work product doctrine; therefore, the City should not produce these bate-stamped documents to
Plaintiff:

BD&C 005128; BD&C 005130; BD&C 005639; BD&C 005643; BD&C 005672;
BD&C 005723; BD&C 005795; BD&C 006506; BD&C 006700; BD&C 006797;
BD&C 006824; BD&C 007072; BD&C 007255; BD&C 007598; BD&C 007707;
BD&C 007771', BD&C 007597; BD&C 008192; BD&C 008295; BD&C 008330; BD&C 08332',
BD&C 009045; BD&C 009114; BD&C 009172; BD&C 009374; BD&C 011088;
BD&C 011182; BD&C 011186; BD&C 011232; BD&C 011651; BD&C 011661;
BD&C 011688; BD&C 011743; BD&C 011751; BD&C 19704; BD&C 19705; BD&C 19799;
BD&C 020036; BD&C 020038; BD&C 020043; BD&C 020068; HBG 00540', HBG 00716;

HBG 01099; HBG 01198; HBG 01325; HBG 01335; HBG 02593; HBG 03569.

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D. Documents Which Must be Produced

The Court has determined that the following bate numbered documents are relevant to
these proceedings Moreover, no privilege applies to the following documents As such, the
following documents should be produced to Plaintiff:

BC&C 005052; BC&C 005637; BC&C 005647; BC&C 005648; BC&C 005650;

BC&C 005652; BC&C 005667; BC&C 005786; BC&C 005787; BC&C 006546;
BC&C 006657; BC&C 006663; BC&C 006834; BC&C 006914; BC&C 006915;
BC&C 008424; BC&C 008428; BC&C 008636; BC&C 008967; BC&C 009061;

BC&C 009465; BD&C 009566; BC&C 009635; BC&C 009665; BC&C 009672;
BC&C 010336; BC&C 011013; BC&C 011035; BC&C 011068; BC&C 011139;

BC&C 011140; BC&C 011165; BC&C 011184; BC&C 011235; BC&C 011242;

BC&C 011567; BC&C 011575; BC&C 011588; BC&C 011664; BC&C 011705;

BC&C 019836; BC&C 020015; BC&C 020034; HBG 01192; HBG 01333; HBG 03564;
HBG 03568; HBG 04388; HBG 04477; HBG 04530; HOK 000016; HOK 000355.

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With respect to those documents listed in Part ll, section D, the Motion to Compel is
GRANTED, and the City should produce these documents to Plaintiff within ll days of entry of
this Order. The remainder of the Motion to Compel is DENIED, and all other documents should
not be produced to Plaintiff. Pursuant to the Order of Reference, any objections to this Order

shall be made in writing within ten days after service of this Order and shall Set forth with

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particularity those portions of the Order objected to and the reasons for those objections

IT IS SO ORDERED.
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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: gm 2¢'. ZOO(

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UNITED STATES DISTRIC COURT - WESTERN DISTRICT OF TENNESSEE

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Honorable Samuel l\/lays
US DISTRICT COURT

